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              UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF MICHIGAN
                   SOUTHERN DIVISION


    THOMAS W. GOLDEN,

          Plaintiff,
                                               COMPLAINT
    v.

    THE LAW GROUP, P.C.,
                                       JURY TRIAL DEMANDED
          Defendant.


                       JURISDICTION AND VENUE

   1.    Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d),

         28 U.S.C. § 1331 for the claims arising under 15 U.S.C. § 1692

         et seq., and 28 U.S.C. § 1367 for pendent state law claims.

   2.    This action arises out of Defendant’s violations of the Fair

         Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

         (“FDCPA”), and the Michigan Collection Practices Act, M.C.L.

         § 445.251 et seq. (“MCPA”), by Defendant in its illegal efforts

         to collect a consumer debt from Plaintiff.
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   3.    Venue is proper in this District because the acts and transac-

         tions occurred in Ionia County, Plaintiff resides in Ionia

         County, and Defendant transacts business in Ionia County.

   4.    Plaintiff timely filed a written request for exclusion with class

         counsel and counsel for the Defendant in Bruce Grant v. Sher-

         meta, Adams & Von Allmen, P.C., Case No. 1:13-cv-1332,

         presently pending in the United States District Court for the

         Western District of Michigan

                                PARTIES

   5.    Plaintiff Thomas W. Golden is a natural person who resides

         in the County of Ionia, State of Michigan; is a “consumer” as

         that term is defined by 15 U.S.C. § 1692a(3), and/or a person

         affected by a violation of the FDCPA with standing to bring

         this claim under 15 U.S.C. §1692k(a).

   6.    Plaintiff is a “debtor” as the term is defined by M.C.L. §

         445.251(d).

   7.    Plaintiff is a “consumer” as the term is defined by M.C.L. §

         445.251(d).
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   8.    Defendant, The Law Group, P.C., (hereinafter “Defendant” or

         “Shermeta”) is a domestic professional corporation.

   9.    Defendant has been assigned identification number 120765 by

         the Michigan Department of Licensing and Regulatory

         Affairs.

   10.   Defendant’s principal place of business is 901 Tower Drive,

         Suite 400, Troy, Michigan.

   11.   As of March 27, 2017, Defendant does not have a registered

         agent listed with the Michigan Department of Licensing and

         Regulatory Affairs.

   12.   Defendant has also operated under the former corporate

         names of Shermeta, Adams & Von Allmen, P.C., and

         Shermeta Law Group, P.C.

   13.   Shermeta, Adams & Von Allmen, P.C. is an assumed name of

         The Law Group, P.C.

   14.   Defendant uses interstate commerce and the mails in a

         business where its principal purpose is the collection of debts.
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   15.   Defendant regularly collects or attempts to collect, directly or

         indirectly, debts owed or due or asserted to be owed or due to

         another.

   16.   Defendant is a “debt collector” as that term is defined by 15

         U.S.C. § 1692a(6).

   17.   Defendant and its agents are “regulated persons” as that term

         is defined in the MCPA at M.C.L. § 445.251(g).

                      FACTUAL ALLEGATIONS

   18.   Plaintiff incurred a financial obligation that was primarily

         for personal, family or household purposes and is therefore

         a “debt” as that term is defined by 15 U.S.C. § 1692a(5),

         namely, a personal debt owed to Discover Bank (“the Debt”).

   19.   Plaintiff defaulted on the Debt sometime prior to January of

         2009.

   20.   After defaulting on the Discover Bank debt, the debt was

         assigned, consigned, placed, or otherwise transferred to

         Defendant for collection from Plaintiff.
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   21.   At all relevant times, Defendant’s actions were made to

         advance its goal of collecting a debt from Plaintiff for the

         benefit of itself and its client.

   22.   In October of 2011 Defendant filed a civil complaint, on

         behalf of Discover Bank, in the 64-A District Court for the

         County of Ionia, the case number being 11-2219-GC (the

         “state court matter”).

   23.   On or about February 15, 2012, a judgment was entered

         against Plaintiff in the state court matter.

   24.   “The amount due is at the heart of a collection action, so

         misstating that amount by claiming costs that are actually

         not due, even if only by tens of dollars, is materially

         misleading for FDCPA purposes.” Williams v Weltman,

         Weinberg & Reis Co, LPA (In re FDCPA Cognate Cases), ___F

         Supp 3d___; 2016 U.S. Dist. LEXIS 44039, at *28 (W.D.

         Mich., Mar. 28, 2016).

   25.   Under Michigan law, “[i]f the garnishee is not indebted to

         the defendant, does not hold any property subject to

         garnishment, and is not the defendant’s employer, the
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         plaintiff is not entitled to recover the costs of that

         garnishment.” MCR 3.101(R).

   26.   Defendant claimed, in a Request and Writ for Garnishment

         dated June 18, 2012, that “[t]he total amount of

         postjudgment costs accrued to date is $10.00.” The state

         court issued the Writ of Garnishment on June 29, 2012.

   27.   Defendant claimed, in a Request and Writ for Garnishment

         dated August 27, 2012, that “[t]he total amount of

         postjudgment costs accrued to date is $29.75.” Defendant

         filed the Request and Writ for Garnishment in the state

         court lawsuit, naming Isabella Community Credit Union as

         the garnishee. The state court issued the Writ of

         Garnishment on September 6, 2012.

   28.   With respect to the Writ of Garnishment issued September

         6, 2012, the garnishee was not indebted to the defendant, did

         not hold any property subject to garnishment, and was not

         the defendant’s employer.

   29.   With respect to the Writ of Garnishment issued September

         6, 2012, neither Defendant nor Discover Bank has received
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         any payment from the garnishee in connection with this Writ

         of Garnishment. Neither Defendant nor Discover Bank were

         entitled to recover the costs of that garnishment.

   30.   Defendant claimed, in a Request and Writ for Garnishment

         dated August 29, 2012, that “[t]he total amount of

         postjudgment costs accrued to date is: $45.75.” Defendant

         filed the Request and Writ for Garnishment in the state

         court lawsuit, naming Michigan Department of Treasury as

         the garnishee. The state court issued the Writ of

         Garnishment on September 26, 2012.

   31.   With respect to the Writ of Garnishment issued September

         26, 2012, the garnishee was not indebted to the defendant,

         did not hold any property subject to garnishment, and was

         not the defendant’s employer.

   32.   With respect to the Writ of Garnishment issued September

         26, 2012, neither Defendant nor Discover Bank has received

         any payment from the garnishee in connection with this Writ

         of Garnishment. Neither Defendant nor Discover Bank were

         entitled to recover the costs of that garnishment.
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   33.   Defendant claimed, in a Request and Writ for Garnishment

         dated October 22, 2012, that “[t]he total amount of

         postjudgment costs accrued to date is $67.75.” Defendant

         filed the Request and Writ for Garnishment in the state

         court lawsuit, naming Bank of America as the garnishee.

         The state court issued the Writ of Garnishment on October

         29, 2012.

   34.   With respect to the Writ of Garnishment issued October 29,

         2012, the garnishee was not indebted to the defendant, did

         not hold any property subject to garnishment, and was not

         the defendant’s employer.

   35.   With respect to the Writ of Garnishment issued October 29,

         2012, neither Defendant nor Discover Bank has received any

         payment from the garnishee in connection with this Writ of

         Garnishment. Neither Defendant nor Discover Bank were

         entitled to recover the costs of that garnishment.

   36.   Defendant claimed, in a Request and Writ for Garnishment

         dated November 26, 2012, that “[t]he total amount of

         postjudgment costs accrued to date is $95.75.” Defendant
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         filed the Request and Writ for Garnishment in the state

         court lawsuit, naming JP Morgan Bank, N.A. as the

         garnishee. The state court issued the Writ of Garnishment

         on December 11, 2012.

   37.   With respect to the Writ of Garnishment issued December

         11, 2012, the garnishee was not indebted to the defendant,

         did not hold any property subject to garnishment, and was

         not the defendant’s employer.

   38.   With respect to the Writ of Garnishment issued December

         11, 2012, neither Defendant nor Discover Bank has received

         any payment from the garnishee in connection with this Writ

         of Garnishment. Neither Defendant nor Discover Bank were

         entitled to recover the costs of that garnishment.

   39.   Defendant claimed, in a Request and Writ for Garnishment

         dated January 28, 2013, that “[t]he total amount of

         postjudgment costs accrued to date is $72.75.” Defendant

         filed the Request and Writ for Garnishment in the state

         court lawsuit, naming Huntington National Bank as the
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          garnishee. The state court issued the Writ of Garnishment

          on February 8, 2013.

    40.   With respect to the Writ of Garnishment issued February 8,

          2013, the garnishee was not indebted to the defendant, did

          not hold any property subject to garnishment, and was not

          the defendant’s employer.

    41.   With respect to the Writ of Garnishment issued February 8,

          2013, neither Defendant nor Discover Bank has received any

          payment from the garnishee in connection with this Writ of

          Garnishment. Neither Defendant nor Discover Bank were

          entitled to recover the costs of that garnishment.

    42.   Defendant claimed, in a Request and Writ for Garnishment

          dated April 14, 2014, that “[t]he total amount of

          postjudgment costs accrued to date is $52.75.” Defendant

          filed the Request and Writ for Garnishment in the state

          court lawsuit, naming Bank of America as the garnishee.

          The state court issued the Writ of Garnishment on April 29,

          2014.
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    43.   With respect to the Writ of Garnishment issued April 29,

          2014, the garnishee was not indebted to the defendant, did

          not hold any property subject to garnishment, and was not

          the defendant’s employer.

    44.   With respect to the Writ of Garnishment issued April 29,

          2014, neither Defendant nor Discover Bank has received any

          payment from the garnishee in connection with this Writ of

          Garnishment. Neither Defendant nor Discover Bank were

          entitled to recover the costs of that garnishment.

    45.   Defendant claimed, in a Request and Writ for Garnishment

          dated September 12, 2014, that “[t]he total amount of

          postjudgment costs accrued to date is: $52.75.” Defendant

          filed the Request and Writ for Garnishment in the state

          court lawsuit, naming Michigan Department of Treasury as

          the garnishee. The state court issued the Writ of

          Garnishment on October 24, 2014.

    46.   With respect to the Writ of Garnishment issued October 24,

          2014, the garnishee was not indebted to the defendant, did
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          not hold any property subject to garnishment, and was not

          the defendant’s employer.

    47.   With respect to the Writ of Garnishment issued October 24,

          2014, neither Defendant nor Discover Bank has received any

          payment from the garnishee in connection with this Writ of

          Garnishment. Neither Defendant nor Discover Bank were

          entitled to recover the costs of that garnishment.

    48.   Defendant claimed, in a Request and Writ for Garnishment

          dated June 29, 2015, that “[t]he total amount of

          postjudgment costs accrued to date is $52.75.” Defendant

          filed the Request and Writ for Garnishment in the state

          court lawsuit, naming Fifth Third Bank as the garnishee.

          The state court issued the Writ of Garnishment on July 9,

          2015.

    49.   With respect to the Writ of Garnishment issued July 9, 2015,

          the garnishee was not indebted to the defendant, did not

          hold any property subject to garnishment, and was not the

          defendant’s employer.
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    50.   With respect to the Writ of Garnishment issued July 9, 2015,

          neither Defendant nor Discover Bank has received any

          payment from the garnishee in connection with this Writ of

          Garnishment. Neither Defendant nor Discover Bank were

          entitled to recover the costs of that garnishment.

    51.   Plaintiff has never been employed by any garnishee listed by

          Defendant or Discover Bank in the state court matter.

    52.   Defendant, in its Requests for Writs of Garnishment,

          illegally added the costs of prior unsuccessful Writs of

          Garnishment to the unsatisfied judgment balances claimed,

          thereby misrepresenting the amount allegedly owed by

          Plaintiff.

    53.   Plaintiff was successful on collecting money from a single

          Writ of Garnishment; while the other eight resulted in no

          funds being collected.

    54.   Defendant materially misstated the amount Plaintiff owed

          in its Request for Writ of Garnishment dated June 18, 2012.
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    55.   Defendant materially misstated the amount Plaintiff owed

          in its Request for Writ of Garnishment dated August 27,

          2012.

    56.   Defendant materially misstated the amount Plaintiff owed

          in its Request for Writ of Garnishment dated August 29,

          2012.

    57.   Defendant materially misstated the amount Plaintiff owed

          in its Request for Writ of Garnishment dated October 22,

          2012.

    58.   Defendant materially misstated the amount Plaintiff owed

          in its Request for Writ of Garnishment dated November 26,

          2012.

    59.   Defendant materially misstated the amount Plaintiff owed

          in its Request for Writ of Garnishment dated January 28,

          2013.

    60.   Defendant materially misstated the amount Plaintiff owed

          in its Request for Writ of Garnishment dated April 14, 2014.
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    61.   Defendant materially misstated the amount Plaintiff owed

          in its Request for Writ of Garnishment dated September 12,

          2014.

    62.   Defendant materially misstated the amount Plaintiff owed

          in its Request for Writ of Garnishment dated June 29, 2015.

    63.   Plaintiff has suffered an injury in fact traceable to Defend-

          ant’s conduct that is likely to be redressed by a favorable de-

          cision in this matter.

    64.   As a direct, actual, and proximate result of the acts and omis-

          sions the Defendant, Plaintiff has suffered actual damages in

          the form of emotional distress, stress, frustration, and upset,

          among other negative emotions caused by Defendant’s acts

          and omissions.



                             TRIAL BY JURY

    65.   Plaintiff is entitled to and hereby respectfully demands a

          trial by jury on all issues so triable. US Const. amend. 7.

          Fed.R.Civ.P. 38.
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                          CAUSES OF ACTION

                           COUNT I.
                     VIOLATIONS OF THE
            FAIR DEBT COLLECTION PRACTICES ACT
                     15 U.S.C. § 1692 et seq.

    66.   Plaintiff incorporates by reference all of the above para-

          graphs of this Complaint as though fully stated herein.

    67.   The foregoing acts and omissions of Defendant and its agents

          constitute numerous and multiple violations of the FDCPA

          including, but not limited to, each and every one of the cited

          provisions of the FDCPA, 15 U.S.C. § 1692 et seq., with re-

          spect to Plaintiff.

    68.   Defendant violated 15 U.S.C. § 1692e.

    69.   Defendant violated 15 U.S.C. § 1692e(2)(A).

    70.   Defendant violated 15 U.S.C. § 1692e(10).

    71.   Defendant violated 15 U.S.C. § 1692f.

    72.   Defendant violated 15 U.S.C. § 1692f(1).

    73.   As a result of Defendant’s violations of the FDCPA, Plaintiff

          is entitled to actual damages pursuant to 15 U.S.C. §

          1692k(a)(1); statutory damages in an amount up to
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          $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, rea-

          sonable attorney’s fees and costs pursuant to 15 U.S.C. §

          1692k(a)(3), from the Defendant herein.

                          COUNT II.
                     VIOLATIONS OF THE
             MICHIGAN COLLECTION PRACTICES ACT
                     M.C.L § 445.251 et seq.

    74.   Plaintiff incorporates by reference all of the above para-

          graphs of this Complaint as though fully stated herein.

    75.   The foregoing acts and omissions of Defendant and its agents

          constitute numerous and multiple violations of the MCPA

          including, but not limited to, each and every one of the

          above-cited provisions of the MCPA, M.C.L. § 445.251 et seq.,

          with respect to Plaintiff.

    76.   Defendant violated M.C.L. § 445.252(a).

    77.   Defendant violated M.C.L. § 445.252(e).

    78.   Defendant violated M.C.L. § 445.252(f)(ii).

    79.   Defendant violated M.C.L. § 445.252(n).

    80.   Defendant violated M.C.L. § 445.252(q).

    81.   As a result of Defendant’s willful violations of the MCPA,

          Plaintiff is entitled to actual damages above $50.00 pursuant
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          to M.C.L. § 445.257; statutory damages in an amount up to

          $150.00 pursuant to M.C.L. § 445.257; and, reasonable at-

          torney’s fees and court costs pursuant to M.C.L. § 445.257,

          from Defendant herein.

                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays that judgment be entered

    against Defendant as follows:

                             COUNT I.
                       VIOLATIONS OF THE
              FAIR DEBT COLLECTION PRACTICES ACT
                       15 U.S.C. § 1692 et seq.

          •     for an award of actual damages pursuant to 15 U.S.C.

                § 1692k(a)(1) against Defendant and for Plaintiff;

          •     for an award of statutory damages of $1,000.00 pursu-

                ant to 15 U.S.C. §1692k(a)(2)(A) against Defendant

                and for Plaintiff; and

          •     for an award of costs of litigation and reasonable attor-

                ney’s fees pursuant to 15 U.S.C. § 1692k(a)(3) against

                Defendant and for Plaintiff.
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                           COUNT II.
                      VIOLATIONS OF THE
              MICHIGAN COLLECTION PRACTICES ACT
                      M.C.L. § 445.251 et seq.

          •     for damages pursuant to M.C.L. § 445.257(2) against

                Defendant and for Plaintiff;

          •     for treble damages pursuant to M.C.L. § 445.257(2)

                against Defendant and for Plaintiff; and

          •     for reasonable attorney’s fees and court costs pursuant

                to M.C.L. § 445.257(2) against Defendant and for Plain-

                tiff.


                                      Respectfully submitted,

                                      GOLDEN LAW OFFICES, P.C.

    Dated: March 31, 2017
                                      /s/ B. Thomas Golden
                                      B. Thomas Golden (P70822)
                                      Golden Law Offices, P.C.
                                      Attorney for the Plaintiff
                                      2186 West Main Street
                                      P.O. Box 9
                                      Lowell, Michigan 49331
                                      Telephone: (616) 897-2900
                                      Facsimile: (616) 897-2907
                                      btg@bthomasgolden.com
